 1. John E. Casperson
    HOLMES WEDDLE & BARCOTT, P.C.
 2. 999 Third Avenue, Suite 2600
    Seattle, Washington 98104
 3. Telephone: (206) 292-8008
    Facsimile: (206) 340-0289
 4. Email:      jcasperson@hwb-law.com
 5.           Attorneys for Plaintiff
 6.
                             IN THE UNITED STATES DISTRICT COURT
 7.
                                    FOR THE DISTRICT OF ALASKA
 8.
      NERKA TRANSPORT LLC,
 9.
                                       Plaintiff,
10.
             v.
11.                                                              IN ADMIRALTY
    BELLAMY BOAT PARTNERSHIP, RICHARD
12. WAMSER, an individual, and THE ST. PAUL
    FIRE AND MARINE INSURANCE
13. COMPANY,
                                                                 Case No. 3:13-cv-0048-SLG
14.                                    Defendants.
15.

16.
                                    COMPLAINT (46 U.S.C. § 31343)
17.
              COMES NOW the Plaintiff, Nerka Transport LLC (“Nerka”), by and through its
18.
      attorneys, Holmes Weddle & Barcott, P.C., and complains against defendants Bellamy
19.

20. Boat Partnership (“Bellamy”), Richard Wamser, an individual (“Wamser”), and the St.

21. Paul Fire & Marine Insurance Company (“St. Paul” and, together with Bellamy and

22. Wamser, the “Defendants”), as set forth below.

23.

24.

25.

26. COMPLAINT
      Nerka Transport LLC v. Bellamy Boat Partnership, et. al.             HOLMES WEDDLE & BARCOTT, PC
                                                                                999 THIRD AVENUE, SUITE 2600
      Case No. 3:13-cv-0048-SLG - Page 1 of 5                                     SEATTLE, WA 98104-4011
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                                                                                     FAX (206) 340-0289
 1.                                            JURISDICTION
 2.
          1.       Jurisdiction is based upon 28 U.S.C. § 1333, admiralty, and 28 U.S.C. § 1331,
 3.
       federal question, specifically 46 U.S.C. § 31343. This is an admiralty or maritime claim
 4.
       within the meaning of Fed. R. Civ. P. 9(h).
 5.
          2.       Nerka is the owner of the vessel STARLING S, Official Number 294484
 6.

 7.    (“Vessel”).

 8.       3.       Nerka seeks a declaration that the Vessel is not subject to certain Notices of
 9.    Claim of Maritime Lien or to the maritime liens asserted therein.
10.
          4.       The Vessel is in Naknek, in the District of Alaska.
11.
          5.       The Vessel was located in the State of Alaska when the liens that are the
12.
       subject of this action arose.
13.

14.       6.       Nerka is an Alaska limited liability company, having its principal place of

15.    business in Medina, Washington.

16.                                          COUNT I: BELLAMY
17.                                            (No Maritime Lien)
18.
          7.       Bellamy filed a Notice of Claim of Maritime Lien against the Vessel with the
19.
       United States Coast Guard on January 11, 1990.
20.
          8.       The Notice of Claim of Maritime Lien against the Vessel was recorded at CL
21.

22.    7, #6. A copy of the Vessel abstract from the U.S. Coast Guard is attached hereto as

23.    Exhibit A.

24.

25.

26. COMPLAINT
      Nerka Transport LLC v. Bellamy Boat Partnership, et. al.           HOLMES WEDDLE & BARCOTT, PC
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                                                                                   FAX (206) 340-0289
 1.       9.       The maritime lien claimed by Bellamy against the Vessel was for the amount
 2.
       of $36,000.00.
 3.
          10.      Bellamy was not injured in any manner giving rise to a maritime lien against
 4.
       the Vessel.
 5.
          11.      The maritime lien asserted by Bellamy is barred by the statute of limitations
 6.

 7.    and/or laches for unreasonable delay in pursuing the claim.

 8.       12.      The Notice of Claim of Maritime Lien is a cloud on the title to the Vessel and
 9.    impairs the use and marketability of the Vessel.
10.
          13.      Nerka has demanded that Bellamy discharge the Notice of Claim of Maritime
11.
       Lien, but Bellamy has refused to do so.
12.
                                   COUNT II: WAMSER AND ST. PAUL
13.

14.                                            (No Maritime Lien)

15.       14.      Wamser and St. Paul filed a Notice of Claim of Maritime Lien against the

16.    Vessel with the United States Coast Guard on December 19, 1990.
17.       15.      The Notice of Claim of Maritime Lien against the Vessel was recorded at CL
18.
       7/219. A copy of the Vessel abstract from the U.S. Coast Guard is attached hereto as
19.
       Exhibit A.
20.
          16.      The maritime lien claimed by Bellamy against the Vessel was for the amount
21.

22.    of $49,460.05.

23.       17.      Wamser and St. Paul were not injured in any manner giving rise to a maritime

24.    lien against the Vessel.
25.

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                                                                                  FAX (206) 340-0289
 1.       18.      The maritime lien asserted by Wamser and St. Paul is barred by the statute of
 2.
       limitations and/or laches for unreasonable delay in pursuing the claim.
 3.
          19.      The Notice of Claim of Maritime Lien is a cloud on the title to the Vessel and
 4.
       impairs the use and marketability of the Vessel.
 5.
          20.      Nerka has demanded that Wamser and St. Paul discharge the Notice of Claim
 6.

 7.    of Maritime Lien, but Wamser and St. Paul have refused to do so.

 8.             WHEREFORE, Nerka prays that the Court declare and award as follows:
 9.      1.     Declare that the Vessel STARLING S is not subject to any maritime lien or
10.
       Notice of Claim of Maritime Lien in favor of Bellamy.
11.
         2.     Declare that the Vessel STARLING S is not subject to any maritime lien or
12.
       Notice of Claim of Maritime Lien in favor of Wamser and/or St. Paul.
13.

14.      3.     Enter such other and further relief as the court deems reasonable and just.

15.
                DATED this 5th day of March, 2013.
16.
                                                          HOLMES WEDDLE & BARCOTT, P.C.
17.

18.
                                                                  s/ John E. Casperson
19.                                                       John E. Casperson, ABA #7910076
                                                          999 Third Avenue, Suite 2600
20.                                                       Seattle, Washington 98104
                                                          Telephone: (206) 292-8008
21.                                                       Facsimile: (206) 340-0289
                                                          Email:       jcasperson@hwb-law.com
22.                                                       Attorneys for Plaintiff

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                                                                                    FAX (206) 340-0289
 1. CERTIFICATE OF SERVICE

 2. The undersigned certifies under penalty of perjury
      of the laws of the State of Washington that, on the
 3. 5th day of March, 2013,
      the foregoing was e-mailed to the Clerk of the Court’s
 4. e-mail address, newcvcases@akd.uscourts.gov.

 5.
               s/John E. Casperson
 6. John E. Casperson

 7.
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 8.

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